OAO 247 (NC/W 03/08) Order Regarding Motion for Sentence Reduction


                                      UNITED STATES DISTRICT COURT
                                                                     for the
                                                       Western District of North Carolina

                    United States of America                           )
                               v.                                      )
                                                                       )   Case No: 3:94CR109-04
                            Lumus Grace
                                                                       )   USM No: 11370-058
Date of Previous Judgment: 05/26/1995                                  )   Tanzania C. Cannon-Eckerle
(Use Date of Last Amended Judgment if Applicable)                      )   Defendant’s Attorney

                   Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)

       Upon motion of  the defendant  the Director of the Bureau of Prisons  the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion,
IT IS ORDERED that the motion is:
        DENIED.     GRANTED and the defendant’s previously imposed sentence of imprisonment (as reflected in
                    the last judgment issued) of 216           months is reduced to Time Served Plus 10 Days .
I. COURT DETERMINATION OF GUIDELINE RANGE (Prior to Any Departures)
Previous Offense Level:               35                                   Amended Offense Level:           34
Criminal History Category:            VI                                   Criminal History Category:       VI
Previous Guideline Range:             292        to 365      months        Amended Guideline Range:         262        to 327     months
II. SENTENCE RELATIVE TO AMENDED GUIDELINE RANGE
 The reduced sentence is within the amended guideline range.
 The previous term of imprisonment imposed was less than the guideline range applicable to the defendant at the time
   of sentencing as a result of a departure or Rule 35 reduction, and the reduced sentence is comparably less than the
   amended guideline range.
 Other (explain):




III. ADDITIONAL COMMENTS
It is further ordered that as a condition of supervised release the defendant shall submit to the local Residential Reentry Center for a
period not to exceed 90 days, with work release, at the direction of the U.S. Probation Officer.




Except as provided above, all provisions of the judgment dated 05/26/1995                         shall remain in effect.
IT IS SO ORDERED.

Order Date:         August 11, 2008



Effective Date:
                      (if different from order date)




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